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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 NELLA CITINO and DANIEL MIZELL, on                    Case No.: 3:24-cv-00843
 behalf of themselves and all others similarly
 situated,

           Plaintiffs,

    v.

 AT&T, INC.,                                           JURY TRIAL DEMANDED

           Defendant.


                                  CLASS ACTION COMPLAINT


         Plaintiffs Nella Citino and Daniel Mizell (“Plaintiffs”) bring this Class Action Petition

(“Petition”) against AT&T, Inc. (“AT&T” or “Defendant”) as individuals and on behalf of all

others similarly situated, and allege, upon personal knowledge as to their own actions and their

counsels’ investigation, and upon information and belief as to all other matters, as follows:

                                     SUMMARY OF ACTION

         1.      Plaintiffs bring this class action against Defendant for its failure to properly secure

and safeguard sensitive information of its customers.

         2.      Defendant is one of the largest wireless carriers and internet providers in the

country.

         3.      Plaintiffs’ and Class Members’ sensitive personally identifiable information

(“PII”)—which they entrusted to Defendant on the mutual understanding that Defendant would

protect it against disclosure—was targeted, compromised, and unlawfully accessed due to a

targeted cyberattack that was announced in March 2024 (the “Data Breach”).



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        4.      AT&T collected and maintained certain personally identifiable information of

Plaintiffs and the putative Class Members (defined below), who are (or were) customers at

Defendant.

        5.      The PII compromised in the Data Breach included Plaintiffs’ and Class Members’

full names, addresses, dates of birth, email addresses, phone numbers, Social Security numbers,

and AT&T account numbers and passcodes.

        6.      The PII compromised in the Data Breach was exfiltrated by cybercriminals and

remains in the hands of those cybercriminals who target PII for its value to identity thieves.

        7.      As a result of the Data Breach, Plaintiffs and approximately 73 million Class

Members (including 7.6 million current customers and 65.4 million former customers),1 suffered

concrete injuries in fact including, but not limited to: (i) invasion of privacy; (ii) theft of their PII;

(iii) lost or diminished value of their PII; (iv) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to their PII, which: (a) remains unencrypted and available for unauthorized

third parties to access and abuse; and (b) remains backed up in Defendant’s possession and is

subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII.




1
 Aimee Ortiz, AT&T Resets Millions of Passcodes After Customer Records Are Leaked, N.Y.
Times (Mar. 30, 2024), https://www.nytimes.com/2024/03/30/business/att-passcodes-reset-data-
breach.html (last visited Apr. 4, 2024).

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       8.      The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cybersecurity procedures and protocols necessary to protect consumers’ PII from

a foreseeable and preventable cyberattack.

       9.      Moreover, upon information and belief, Defendant was targeted for a cyberattack

due to its status as a telecom company that collects and maintains highly valuable PII on its

systems.

       10.     Defendant maintained, used, and shared the PII in a reckless manner. In particular,

the PII was used and transmitted by Defendant in a condition vulnerable to cyberattacks. Upon

information and belief, the mechanism of the cyberattack and potential for improper disclosure of

Plaintiffs’ and Class Members’ PII was a known risk to Defendant, and thus Defendant was on

notice that failing to take steps necessary to secure the PII from those risks left that property in a

dangerous condition.

       11.     Defendant disregarded the rights of Plaintiffs and Class Members by, inter alia,

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable measures

to ensure its data systems were protected against unauthorized intrusions; failing to take standard

and reasonably available steps to prevent the Data Breach; and failing to provide Plaintiffs and

Class Members prompt and accurate notice of the Data Breach.

       12.     Plaintiffs’ and Class Members’ identities are now at risk because of Defendant’s

negligent conduct because the PII that Defendant collected and maintained has been accessed and

acquired by data thieves.

       13.     Armed with the PII accessed in the Data Breach, data thieves have already engaged

in identity theft and fraud and can in the future commit a variety of crimes, including opening new

financial accounts in Class Members’ names, taking out loans in Class Members’ names, using




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Class Members’ information to obtain government benefits, filing fraudulent tax returns using

Class Members’ information, obtaining driver’s licenses in Class Members’ names, and giving

false information to police during an arrest.

        14.     As a result of the Data Breach, Plaintiffs and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiffs and Class Members must now

and in the future closely monitor their financial accounts to guard against identity theft.

        15.     Plaintiffs and Class Members may also incur out of pocket costs, e.g., for

purchasing credit monitoring services, credit freezes, credit reports, or other protective measures

to deter and detect identity theft.

        16.     Plaintiffs bring this class action lawsuit on behalf all those similarly situated to

address Defendant’s inadequate safeguarding of Class Members’ PII that it collected and

maintained, and for failing to provide timely and adequate notice to Plaintiffs and other Class

Members that their information had been subject to unauthorized access by an unknown third party

and precisely what specific type of information was accessed.

        17.     Through this Petition, Plaintiffs seek to remedy these harms on behalf of themselves

and all similarly situated individuals whose PII was accessed during the Data Breach.

        18.     Plaintiffs and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable relief.

                                  JURISDICTION AND VENUE

        19.     This Court has subject matter jurisdiction over this action under 28 U.S.C.§ 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed class,

and at least one member of the class is a citizen of a state different from Defendant.




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       20.      This Court has personal jurisdiction over Defendant because its principal place of

business is in the Dallas Division of the Northern District of Texas, and the acts and omissions

giving rise to Plaintiffs’ claims occurred in and emanated from this District.

       21.     Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant’s principal place

of business is in the Dallas Division of the Northern District of Texas, and the acts and omissions

giving rise to Plaintiffs’ claims occurred in and emanated from this District.

                                             PARTIES

       22.     Plaintiff Nella Citino is a natural person, resident, and citizen of the state of Ohio

residing in Franklin County.

       23.     Plaintiff Daniel Mizell is a natural person, resident, and citizen of the state of

Louisiana residing in Livingston Parrish.

       24.     Defendant AT&T, Inc. is a corporation organized under the state laws of Delaware

with its principal place of business located at 208 S. Akard St., Dallas, Texas 75202. Defendant is

a citizen of Texas. The registered agent for service of process is CT Corporation System, 1999

Bryan St., Suite 900, Dallas, Texas 75201.

                                  FACTUAL ALLEGATIONS

       Defendant’s Business

       25.     Defendant is one of the largest wireless carriers and internet providers in the

country.

       26.     Plaintiffs and Class Members are current and former customers of Defendant.

       27.     In the course of their relationship, customers, including Plaintiffs and Class

Members, provided Defendant with at least the following: names, dates of birth, phone numbers,

Social Security numbers, and other sensitive information.




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       28.        Upon information and belief, in the course of collecting PII from customers,

including Plaintiffs, Defendant promised to provide confidentiality and adequate security for the

data it collected from customers through its applicable privacy policy and through other disclosures

in compliance with statutory privacy requirements.

       29.        For instance, Defendant provides on its website that:

       We work hard to safeguard your information using technology controls and organizational
       controls. We protect our computer storage and network equipment. We require employees
       to authenticate themselves to access sensitive data. We limit access to personal information
       to the people who need access for their jobs. And we require callers and online users to
       authenticate themselves before we provide account information.2

       30.        Plaintiffs and the Class Members, as customers of Defendant, relied on these

promises and on this sophisticated business entity to keep their sensitive PII confidential and

securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information. Consumers, in general, demand security to safeguard

their PII, especially when their Social Security numbers and other sensitive PII are involved.

       The Data Breach

       31.        In or about March 2024, the details of approximately 73 million former and current

AT&T Customer accounts, including full names, email addresses, mailing addresses, phone

numbers, dates of birth, Social Security numbers, and AT&T account numbers and passcodes were

leaked online.3

       32.        “Details of the leaked data first appeared online in August 2021, when a known

threat actor, ShinyHunters, offered up the records for sale on a hacking forum, with a ‘buy it now’




2
  AT&T, Inc., AT&T Privacy Notice, https://about.att.com/privacy/privacy-notice.html (last visited
Apr. 4, 2024).
3
  Ortiz, supra note 1.

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price of one million dollars.”4 As of that time, Defendant claimed that the leaked dataset “does not

appear to have come from our systems.”5

          33.   In March 2024, “that same data appears to have been made available for free by

another threat actor, MajorNelson.”6 As of March 22, 2024, AT&T repeated its claim that it “ha[d]

no indications of a compromise of our systems. We determined in 2021 that the information offered

on this online forum did not appear to have come from our systems. This appears to be the same

dataset that has been recycled several times on this forum.”7

          34.   AT&T then changed its tune, acknowledging on March 30, 2024 that the

information of 7.6 million customers and 65.4 former customers and been affected by the Data

Breach.8

          35.   Defendant had obligations created by the FTC Act, contract, common law, and

industry standards to keep Plaintiffs’ and Class Members’ PII confidential and to protect it from

unauthorized access and disclosure.

          36.   Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiffs and Class Members,

such as encrypting the information or deleting it when it is no longer needed, causing the exposure

of PII.




4
  Id.
5
  Lawrence Abrams, AT&T denies data breach after hacker auctions 70 million user database,
BleepingComputer (August 20, 2021), https://www.bleepingcomputer.com/news/security/atandt-
denies-data-breach-after-hacker-auctions-70-million-user-database/ (last visited Apr. 4, 2024).
6
  Jack Turner, 70 Million AT&T Accounts Leaked Online – How to Check Yours, Tech.co (Mar. 23,
2024), https://tech.co/news/att-accounts-leaked-70-million-check (last visited Apr. 4, 2024).
7
  Zack Whittaker, AT&T won’t say how its customers’ data spilled online, TechCrunch (Mar. 22,
2024), https://techcrunch.com/2024/03/22/att-customers-data-leak-online/ (last visited Apr. 4,
2024).
8
  Ortiz, supra note 1.

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          37.      The attacker accessed and acquired files Defendant shared with a third party

containing unencrypted PII of Plaintiffs and Class Members. Plaintiffs’ and Class Members’ PII

was accessed and stolen in the Data Breach.

          38.      Plaintiffs further believe that their PII and that of Class Members was subsequently

sold on the dark web following the Data Breach, as that is the modus operandi of cybercriminals

that commit cyberattacks of this type.

          Data Breaches Are Preventable

          39.      Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiffs and Class Members,

such as encrypting the information or deleting it when it is no longer needed, causing the exposure

of PII.

          40.      Defendant could have prevented this Data Breach by, among other things, properly

encrypting or otherwise protecting their equipment and computer files containing PII.

          41.      As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.”9

          42.      To prevent and detect cyberattacks and/or ransomware attacks, Defendant could

and should have implemented, as recommended by the United States Government, the following

measures:

               Implement an awareness and training program. Because end users are targets,
                employees and individuals should be aware of the threat of ransomware and how it is
                delivered.

               Enable strong spam filters to prevent phishing emails from reaching the end users and
                authenticate inbound email using technologies like Sender Policy Framework (SPF),
                Domain Message Authentication Reporting and Conformance (DMARC), and


9
  FBI, How to Protect Your Networks from Ransomware, at 3, https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view (last visited Apr. 4, 2024).

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               DomainKeys Identified Mail (DKIM) to prevent email spoofing.

              Scan all incoming and outgoing emails to detect threats and filter executable files from
               reaching end users.

              Configure firewalls to block access to known malicious IP addresses.

              Patch operating systems, software, and firmware on devices. Consider using a
               centralized patch management system.

              Set anti-virus and anti-malware programs to conduct regular scans automatically.

              Manage the use of privileged accounts based on the principle of least privilege: no users
               should be assigned administrative access unless absolutely needed; and those with a
               need for administrator accounts should only use them when necessary.

              Configure access controls—including file, directory, and network share permissions—
               with least privilege in mind. If a user only needs to read specific files, the user should
               not have write access to those files, directories, or shares.

              Disable macro scripts from office files transmitted via email. Consider using Office
               Viewer software to open Microsoft Office files transmitted via email instead of full
               office suite applications.

              Implement Software Restriction Policies (SRP) or other controls to prevent programs
               from executing from common ransomware locations, such as temporary folders
               supporting popular Internet browsers or compression/decompression programs,
               including the AppData/LocalAppData folder.

              Consider disabling Remote Desktop protocol (RDP) if it is not being used.

              Use application whitelisting, which only allows systems to execute programs known
               and permitted by security policy.

              Execute operating system environments or specific programs in a virtualized
               environment.

              Categorize data based on organizational value and implement physical and logical
               separation of networks and data for different organizational units.10




10
     Id. at 3-4.

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        43.       To prevent and detect cyberattacks or ransomware attacks, Defendant could and

should have implemented, as recommended by the Microsoft Threat Protection Intelligence Team,

the following measures:

              Secure internet-facing assets

              -         Apply latest security updates
              -         Use threat and vulnerability management
              -         Perform regular audit; remove privileged credentials;

              Thoroughly investigate and remediate alerts

              -         Prioritize and treat commodity malware infections as potential full
                        compromise;

              Include IT Pros in security discussions

              -         Ensure collaboration among [security operations], [security admins], and
                        [information technology] admins to configure servers and other endpoints
                        securely;

              Build credential hygiene

              -         Use [multifactor authentication] or [network level authentication] and use
                        strong, randomized, just-in-time local admin passwords;

              Apply principle of least-privilege

              -         Monitor for adversarial activities
              -         Hunt for brute force attempts
              -         Monitor for clearing of Event Logs
              -         Analyze logon events;

              Harden infrastructure

              -         Use Windows Defender Firewall
              -         Enable tamper protection
              -         Enable cloud-delivered protection
              -         Turn on attack surface reduction rules and [Antimalware Scan Interface]
                        for Office [Visual Basic for Applications].11


11
   See Microsoft Corp., Human-operated ransomware attacks: A preventable disaster (Mar. 5,
2020),       https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-
attacks-a-preventable-disaster/ (last visited Apr. 4, 2024).

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       44.      Given that Defendant was storing the PII of its current and former customers,

Defendant could and should have implemented all the above measures to prevent and detect

cyberattacks.

       45.      The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and data thieves acquiring and accessing the PII of more than seventy million individuals,

including that of Plaintiffs and Class Members.

       Defendant Acquires, Collects, And Stores Its Customers’ PII

       46.      Defendant acquires, collects, and stores a massive amount of PII on its current and

former customers.

       47.      As a condition of obtaining products and/or services at Defendant, Defendant

requires that customers and other personnel entrust it with highly sensitive personal information.

       48.      By obtaining, collecting, and using Plaintiffs’ and Class Members’ PII, Defendant

assumed legal and equitable duties and knew or should have known that it was responsible for

protecting Plaintiffs’ and Class Members’ PII from disclosure.

       49.      Plaintiffs and the Class Members have taken reasonable steps to maintain the

confidentiality of their PII and would not have entrusted it to Defendant absent a promise to

safeguard that information.

       50.      Upon information and belief, in the course of collecting PII from customers,

including Plaintiffs, Defendant promised to provide confidentiality and adequate security for their

data through its applicable privacy policy and through other disclosures in compliance with

statutory privacy requirements.

       51.      Indeed, Defendant provides on its website that:




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        We work hard to safeguard your information using technology controls and organizational
        controls. We protect our computer storage and network equipment. We require employees
        to authenticate themselves to access sensitive data. We limit access to personal information
        to the people who need access for their jobs. And we require callers and online users to
        authenticate themselves before we provide account information.12

        52.    Plaintiffs and the Class Members relied on Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information.

        Defendant Knew, or Should Have Known, of the Risk Because Telecom Companies in
        Possession of PII Are Particularly Susceptible To Cyberattacks

        53.    Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches targeting telecom companies that collect

and store PII, like Defendant, preceding the date of the breach.

        54.    Data breaches, including those perpetrated against telecom companies that store PII

in their systems, have become widespread.

        55.    In the third quarter of the 2023 fiscal year alone, 733 organizations experienced

data breaches or similar compromises, resulting in 66,658,764 individuals’ personal information

being compromised.13

        56.    In light of recent high profile data breaches at other industry leading companies,

including Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion




12
  AT&T, supra note 2.
13
    See Identity Theft Resource Center, ITRC Q3 Data Breach Analysis (2023),
https://www.idtheftcenter.org/publication/q3-data-breach-2023-analysis/ (last visited Apr. 4,
2024).

                                                12
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records, May 2020), Defendant knew or should have known that the PII that they collected and

maintained would be targeted by cybercriminals.

        57.    Indeed, cyberattacks, such as the one experienced by Defendant, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, and prepared for, a potential attack. As one report

explained, smaller entities that store PII are “attractive to ransomware criminals . . . because they

often have lesser IT defenses and a high incentive to regain access to their data quickly.”14

        58.    Additionally, as companies become more dependent on computer systems to run

their business,15 such as on account of working remotely as a result of the Covid-19 pandemic, and

the Internet of Things (“IoT”), the danger posed by cybercriminals is magnified, thereby

highlighting the need for adequate administrative, physical, and technical safeguards.16

        59.    Defendant knew and understood unprotected or exposed PII in the custody of

telecom companies, like Defendant, is valuable and highly sought after by nefarious third parties

seeking to illegally monetize that PII through unauthorized access.

        60.    At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiffs and Class Members and of the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,




14
   Ben Kochman, FBI, Secret Service Warn of Targeted Ransomware, Law360 (Nov. 18, 2019),
https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-
targeted-ransomware (last visited Apr. 4, 2024).
15
   Danny Brando, et al., Implications of Cyber Risk for Financial Stability, The Federal Reserve
(May 12, 2022), https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-
risk-for-financial-stability-20220512.html (last visited Apr. 4, 2024).
16
   Dr. Suleyman Ozarslan, Key Threats and Cyber Risks Facing Financial Services and Banking
Firms in 2022, PICUSLABS (Mar. 24, 2022), https://www.picussecurity.com/key-threats-and-
cyber-risks-facing-financial-services-and-banking-firms-in-2022 (last visited Apr. 4, 2024).

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specifically, the significant costs that would be imposed on Plaintiffs and Class Members as a

result of a breach.

         61.     Plaintiffs and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

         62.     The injuries to Plaintiffs and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiffs and Class Members.

         63.     The ramifications of Defendant’s failure to keep secure the PII of Plaintiffs and

Class Members are long lasting and severe. Once PII is stolen––particularly Social Security

numbers––fraudulent use of that information and damage to victims may continue for years.

         64.     As a telecom company in custody of the PII of its customers, Defendant knew, or

should have known, the importance of safeguarding PII entrusted to it by Plaintiffs and Class

Members, and of the foreseeable consequences if its data security systems were breached. This

includes the significant costs imposed on Plaintiffs and Class Members as a result of a breach.

Defendant failed, however, to take adequate cybersecurity measures to prevent the Data Breach.

         Value Of Personally Identifying Information

         65.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”17

The FTC defines “identifying information” as “any name or number that may be used, alone or in

conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s



17
     17 C.F.R. § 248.201 (2013).

                                                14
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license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”18

        66.      The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials.19

        67.      For example, PII can be sold at a price ranging from $40 to $200.20 Criminals can

also purchase access to entire company data breach databases at a price ranging from $900 to

$4,500.21

        68.      Moreover, Social Security numbers are among the worst kind of PII to have stolen

because they may be put to a variety of fraudulent uses and are difficult for an individual to change.

        69.      According to the Social Security Administration, each time an individual’s Social

Security number is compromised, “the potential for a thief to illegitimately gain access to bank

accounts, credit cards, driving records, tax and employment histories and other private information

increases.” 22 Moreover, “[b]ecause many organizations still use SSNs as the primary identifier,

exposure to identity theft and fraud remains.”23




18
   Id.
19
   Anita George, Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends (Oct. 16, 2019), https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last visited Apr. 4, 2024).
20
   Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark Web,
Experian (Dec. 6, 2017), https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last visited Apr. 4, 2024).
21
   In the Dark, VPNOverview (2019), https://vpnoverview.com/privacy/anonymous-browsing/in-
the-dark/ (last visited Apr. 4, 2024).
22
    See Social Security Administration, Avoid Identity Theft: Protect Social Security Numbers,
https://www.ssa.gov/phila/ProtectingSSNs.htm (last visited Apr. 4, 2024).
23
   Id.

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         70.    The Social Security Administration stresses that the loss of an individual’s Social

Security number, as experienced by Plaintiffs and some Class Members, can lead to identity theft

and extensive financial fraud:

         A dishonest person who has your Social Security number can use it to get other
         personal information about you. Identity thieves can use your number and your
         good credit to apply for more credit in your name. Then, when they use the credit
         cards and don’t pay the bills, it damages your credit. You may not find out that
         someone is using your number until you’re turned down for credit, or you begin to
         get calls from unknown creditors demanding payment for items you never bought.
         Someone illegally using your Social Security number and assuming your identity
         can cause a lot of problems.24

         71.    In fact, “[a] stolen Social Security number is one of the leading causes of identity

theft and can threaten your financial health.”25 “Someone who has your SSN can use it to

impersonate you, obtain credit and open bank accounts, apply for jobs, steal your tax refunds, get

medical treatment, and steal your government benefits.”26

         72.    What’s more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

         73.    Even then, a new Social Security number may not be effective. According to Julie

Fergerson of the Identity Theft Resource Center, “[t]he credit bureaus and banks are able to link




24
     Social Security Administration, Identity Theft and Your Social Security Number (Jul. 2021),
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Apr. 4, 2024).
25
   Equifax Inc., https://www.equifax.com/personal/education/identity-theft/articles/-/learn/social-
security-number-identity-theft/ (last visited Apr. 4, 2024).
26
   Julia Kagan, What Is an SSN? Facts to Know About Social Security Numbers, Investopedia (Feb.
15, 2024), https://www.investopedia.com/terms/s/ssn.asp (last visited Apr. 4, 2024).

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the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.”27

        74.    For these reasons, some courts have referred to Social Security numbers as the

“gold standard” for identity theft. Portier v. NEO Tech. Sols., No. 3:17-CV-30111, 2019 WL

7946103, at *12 (D. Mass. Dec. 31, 2019) (“Because Social Security numbers are the gold standard

for identity theft, their theft is significant . . . . Access to Social Security numbers causes long-

lasting jeopardy because the Social Security Administration does not normally replace Social

Security numbers.”), report and recommendation adopted, No. 3:17-CV-30111, 2020 WL 877035

(D. Mass. Jan. 30, 2020); see also McFarlane v. Altice USA, Inc., 2021 WL 860584, at *272

(citations omitted) (S.D.N.Y. Mar. 8, 2021) (noting that a Social Security number is “arguably ‘the

most dangerous type of personal information in the hands of identity thieves’ because it is

immutable and can be used to ‘impersonat[e] [the victim] to get medical services, government

benefits, . . . tax refunds, [and] employment.’ . . . Unlike a credit card number, which can be

changed to eliminate the risk of harm following a data breach, ‘[a] social security number derives

its value in that it is immutable,’ and when it is stolen it can ‘forever be wielded to identify [the

victim] and target him in fraudulent schemes and identity theft attacks.’”).

        75.    Similarly, the California state government warns consumers that: “[o]riginally,

your Social Security number (SSN) was a way for the government to track your earnings and pay

you retirement benefits. But over the years, it has become much more than that. It is the key to a




27
  Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millionsworrying-about-identity-theft (last visited Apr. 4, 2024).

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lot of your personal information. With your name and SSN, an identity thief could open new credit

and bank accounts, rent an apartment, or even get a job.”28

        76.    Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—Social Security numbers, dates of birth, and names.

        77.    This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained that “[c]ompared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x in price

on the black market.”29

        78.    Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing—and even give false information to police.

        79.    The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, as well as

between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data have been sold or posted on the Web, fraudulent use of that information may



28
    Cal. Att’y Gen., Your Social Security Number: Controlling the Key to Identity Theft,
https://oag.ca.gov/idtheft/facts/your-ssn (last visited Apr. 4, 2024).
29
   Tim Greene, Anthem hack: personal data stolen sells for 10x price of stolen credit card numbers,
Network World, (Feb. 6, 2015), https://www.networkworld.com/article/2880366/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last visited Apr. 4,
2024).

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        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm.30

        80.    Plaintiffs and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

        Defendant Fails To Comply With FTC Guidelines

        81.    The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

        82.    In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cybersecurity guidelines for businesses. These guidelines

note that businesses should protect the personal consumer information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems.31

        83.    The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone




30
   U.S. Gov’t Accountability Off., Data Breaches Are Frequent, but Evidence of Resulting Identity
Theft Is Limited; However, the Full Extent Is Unknown, GAO-07-737, at 29 (June 2007),
https://www.gao.gov/assets/gao-07-737.pdf (last visited Apr. 4, 2024).
31
   Fed. Trade Comm’n, Protecting Personal Information: A Guide for Business (Oct. 2016).
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf (last visited Apr. 4, 2024).

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is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.32

           84.   The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit employee access to sensitive data; require that

complex passwords be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.33

           85.   The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

           86.   These FTC enforcement actions include actions against telecom companies, like

Defendant.

           87.   Section 5 of the FTCA prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Defendant, of failing to use reasonable measures to protect PII. The FTC publications and orders

described above also form part of the basis of Defendant’s duty in this regard.

           88.   Defendant failed to properly implement basic data security practices.




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     Id.
33
     Id.

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       89.     Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to the PII of its customers or to comply with applicable industry

standards constitutes an unfair act or practice prohibited by Section 5 of the FTCA.

       90.     Upon information and belief, AT&T was at all times fully aware of its obligation

to protect the PII of its customers, AT&T was also aware of the significant repercussions that

would result from its failure to do so. Accordingly, Defendant’s conduct was particularly

unreasonable given the nature and amount of PII it obtained and stored and the foreseeable

consequences of the immense damages that would result to Plaintiffs and the Class from the

unauthorized disclosure of that PII.

       Defendant Fails To Comply With Industry Standards

       91.     As noted above, experts studying cybersecurity routinely identify telecom

companies in possession of PII as being particularly vulnerable to cyberattacks because of the

value of the PII which they collect and maintain.

       92.     Several best practices have been identified that, at a minimum, should be

implemented by telecom companies in possession of PII, like Defendant, including but not limited

to: educating all employees; requiring strong passwords; implementing multi-layer security,

including firewalls, maintaining anti-virus and anti-malware software; utilizing encryption,

making data unreadable without a key; requiring multi-factor authentication; maintaining backup

data; and limiting which employees can access sensitive data. AT&T failed to follow these industry

best practices, including a failure to implement multi-factor authentication.

       93.     Other best cybersecurity practices that are standard for telecom companies include

installing appropriate malware detection software; monitoring and limiting network ports;

protecting web browsers and email management systems; setting up network systems such as




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firewalls, switches, and routers; monitoring and protecting physical security systems; protecting

against any possible communication system; training staff regarding critical points. AT&T failed

to follow these cybersecurity best practices, including failing to adequately train staff.

       94.     Upon information and belief Defendant failed to meet the minimum standards of

one or more of the following frameworks: the NIST Cybersecurity Framework Version 1.1

(including without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7,

PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8,

and RS.CO-2), and the Center for Internet Security’s Critical Security Controls (CIS CSC), which

are all established standards in reasonable cybersecurity readiness.

       95.     These foregoing frameworks are existing and applicable industry standards for

telecom companies, and upon information and belief Defendant failed to comply with at least

one—or all—of these accepted standards, thereby opening the door to the threat actor and causing

the Data Breach.

       Common Injuries & Damages

       96.     As a result of Defendant’s ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of PII being obtained by criminals, the risk of

identity theft to the Plaintiffs and Class Members has materialized and is imminent, and Plaintiffs

and Class Members have all sustained actual injuries and damages, including: (i) invasion of

privacy; (ii) theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss

of benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; and

(ix) the continued and certainly increased risk to their PII, which: (a) remains unencrypted and




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available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII.

       Data Breaches Increase Victims’ Risk of Identity Theft

       97.     The unencrypted PII of Class Members has ended up for sale on the dark web, as

that is the modus operandi of hackers.

       98.     Unencrypted PII may also fall into the hands of companies that will use the detailed

PII for targeted marketing without the approval of Plaintiffs and Class Members. Simply put,

unauthorized individuals can easily access the PII of Plaintiffs and Class Members.

       99.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the

data by selling the stolen information on the black market to other criminals, who then utilize the

information to commit a variety of identity theft related crimes discussed below.

       100.    Plaintiffs’ and Class Members’ PII is of great value to hackers and cybercriminals,

and the data stolen in the Data Breach has been used and will continue to be used in a variety of

sordid ways for criminals to exploit Plaintiffs and Class Members and to profit off their misfortune.

       101.    Due to the risk of one’s Social Security number being exposed, state legislatures

have passed laws in recognition of the risk: “[t]he social security number can be used as a tool to

perpetuate fraud against a person and to acquire sensitive personal, financial, medical, and familial

information, the release of which could cause great financial or personal harm to an individual.

While the social security number was intended to be used solely for the administration of the




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federal Social Security System, over time this unique numeric identifier has been used extensively

for identity verification purposes[.]”34

        102.   Moreover, “SSNs have been central to the American identity infrastructure for

years, being used as a key identifier[.] . . . U.S. banking processes have also had SSNs baked into

their identification process for years. In fact, SSNs have been the gold standard for identifying and

verifying the credit history of prospective customers.”35

        103.   As of 2013, “[d]espite the risk of fraud associated with the theft of Social Security

numbers, just five of the nation’s largest 25 banks ha[d] stopped using the numbers to verify a

customer’s identity after the initial account setup[.]”36 Accordingly, since Social Security numbers

are frequently used to verify an individual’s identity after logging onto an account or attempting a

transaction, “[h]aving access to your Social Security number may be enough to help a thief steal

money from your bank account.”37

        104.   One such example of criminals piecing together bits and pieces of compromised

PII for profit is the development of “Fullz” packages.38


34
   See N.C. Gen. Stat. § 132-1.10(1).
35
    See Husayn Kassai, BankThink: Banks need to stop relying on Social Security Numbers,
American Banker (Nov. 12, 2018), https://www.americanbanker.com/opinion/banks-need-to-stop-
relying-on-social-security-numbers (last visited Apr. 4, 2024).
36
   See Ann Carrns, Just 5 Banks Prohibit Use of Social Security Numbers, N.Y. Times (Mar. 20,
2013), https://archive.nytimes.com/bucks.blogs.nytimes.com/2013/03/20/just-5-banks-prohibit-
use-of-social-security-numbers/ (last visited Apr. 4, 2024).
37
    Credit.com, What Can Someone Do With Your Social Security Number (Oct. 19, 2023),
https://www.credit.com/blog/5-things-an-identity-thief-can-do-with-your-social-security-number-
108597/ (last visited Apr. 4, 2024).
38
   “Fullz” is fraudster-speak for data that includes the information of the victim, including, but not
limited to, name, address, credit card information, Social Security number, date of birth, and more.
As a rule of thumb, the more information one has on a victim, the more money that can be made
off of those credentials. Fullz are usually pricier than standard credit card credentials, commanding
up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning credentials into
money) in various ways, including performing bank transactions over the phone with the required
authentication details in-hand. Even “dead Fullz,” which are Fullz credentials associated with
credit cards that are no longer valid, can still be used for numerous purposes, including tax refund

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       105.    With “Fullz” packages, cybercriminals can cross-reference two sources of PII to

marry unregulated data available elsewhere to criminally stolen data in order to assemble complete

dossiers on individuals with an astonishingly complete scope and degree of accuracy.

       106.    The development of “Fullz” packages means that the stolen PII from the Data

Breach can easily be used to link and identify Plaintiffs’ and Class Members’ phone numbers,

email addresses, and other unregulated sources and identifiers.

       107.    The existence and prevalence of “Fullz” packages means that the PII stolen from

the Data Breach can easily be linked to the unregulated data (like insurance information) of

Plaintiffs and the other Class Members.

       108.    Thus, even if certain information (such as credit card numbers and insurance

information) was not exfiltrated in the Data Breach, criminals can still easily create a

comprehensive “Fullz” package.

       109.    Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

unscrupulous operators and other criminals (such as illegal and scam telemarketers).

       Loss of Time To Mitigate Risk of Identity Theft and Fraud

       110.    As a result of the recognized risk of identity theft, when a Data Breach occurs and

an individual is notified by a company that their PII was compromised, as in this Data Breach, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of fraud.




scams, ordering credit cards on behalf of the victim, or opening a “mule account” (an account that
will accept a fraudulent money transfer from a compromised account) without the victim’s
knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground Stolen From Texas
Life       Insurance       Firm,       Krebs      on       Security     (Sep.      18,     2014),
https://krebsonsecurity.com/2014/09/medical-records-for-sale-in-underground-stolen-from-texas-
life-insurance-firm/ (last visited Apr. 4, 2024).

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Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm—however, the resource and asset of time has been lost.

        111.   Plaintiffs and Class Members have spent time, and will spend additional time in the

future, on a variety of prudent actions, such as researching and verifying the legitimacy of the Data

Breach. Accordingly, the Data Breach has caused Plaintiffs and Class Members to suffer actual

injury in the form of lost time—which cannot be recaptured—spent on mitigation activities.

        112.   Plaintiffs’ mitigation efforts are consistent with the U.S. Government

Accountability Office 2007 report regarding data breaches (“GAO Report”), in which it noted that

victims of identity theft may face “substantial costs and time to repair the damage to their good

name and credit record.”39

        113.   Plaintiffs’ mitigation efforts are also consistent with the steps that the FTC

recommends that data breach victims take to protect their personal and financial information after

a data breach, including: contacting one or more of the credit bureaus to place a fraud alert,

reviewing their credit reports, contacting companies to remove fraudulent charges from their

accounts, placing a freeze on their credit, and correcting their credit reports.40

        Diminution of Value of PII

        114.   PII is a valuable property right.41 Its value is axiomatic, considering the value of

Big Data in corporate America and the fact that cyber thefts result in heavy prison sentences. Even

these obvious risk-to-reward factors illustrate beyond doubt that PII has considerable market value.



39
   U.S. Gov’t Accountability Off., supra note 30 at 2.
40
   See Federal Trade Commission, IdentityTheft.gov, https://www.identitytheft.gov/Steps (last
visited Apr. 4, 2024).
41
   See, e.g., John T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at 2 (2009)
(“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching a level
comparable to the value of traditional financial assets.”) (citations omitted).

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         115.   Sensitive PII can sell for as much as $363 per record according to the Ponemon

Institute.42

         116.   An active and robust legitimate marketplace for PII also exists. In 2019, the data

brokering industry was believed to be worth roughly $200 billion.43

         117.   In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers.44

         118.   As a result of the Data Breach, Plaintiffs’ and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished by

its compromise and unauthorized release. However, this transfer of value occurred without any

consideration paid to Plaintiffs or Class Members for their property, resulting in an economic loss.

Moreover, the PII is now readily available, and the rarity of the Data has been lost, thereby causing

additional loss of value.

         119.   At all relevant times, AT&T knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiffs and Class Members, and of the foreseeable

consequences that would occur if Defendant’s data security system was breached, including the

significant costs that would be imposed on Plaintiffs and Class Members as a result of a breach.

         120.   The fraudulent activity resulting from the Data Breach may not come to light for

years.


42
   Ponemon Institute, LLC, 2015 Cost of Data Breach Study: Global Analysis, at 2 (May 2015),
https://www.ponemon.org/local/upload/file/2015%20Global%20CODB%20FINAL%203%20co
py.pdf (last visited Apr. 4, 2024).
43
   David Lazarus, Column: Shadowy data brokers make the most of their invisibility cloak, L.A.
Times (Nov. 5, 2019), https://www.latimes.com/business/story/2019-11-05/column-data-brokers
(last visited Apr. 4, 2024).
44
   See Datacoup, Inc., The personal data revolution, https://datacoup.com/ (last visited Apr. 4,
2024).

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       121.    Plaintiffs and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

       122.    AT&T was, or should have been, fully aware of the unique type and the significant

volume of data on Defendant’s network—amounting to more than seventy million individuals’

detailed personal information—and thus the significant number of individuals who would be

harmed by the exposure of the unencrypted data.

       123.    The injuries to Plaintiffs and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiffs and Class Members.

       The Future Cost of Credit and Identity Theft Monitoring is Reasonable and Necessary

       124.    Given the type of targeted attack in this case, the nature of the sophisticated criminal

activity, and the type of PII involved, entire batches of stolen information appear to have been

placed on the black market/dark web for sale and purchase by criminals intending to utilize the PII

for identity theft crimes, such as opening bank accounts in the victims’ names to make purchases

or to launder money; filing false tax returns; taking out loans or lines of credit; or filing false

unemployment claims.

       125.    Such fraud may go undetected until debt collection calls commence months or even

years later. An individual may not know that his or her PII was used to file for unemployment

benefits until law enforcement notifies the individual’s employer of the suspected fraud.

Fraudulent tax returns are typically discovered only when an individual’s authentic tax return is

rejected.




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        126.    Consequently, Plaintiffs and Class Members are at an increased risk of fraud and

identity theft for many years into the future.

        127.    The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to monitor and protect

Class Members from the risk of identity theft that arose from Defendant’s Data Breach.

        Loss of Benefit of the Bargain

        128.    Furthermore, Defendant’s poor data security practices deprived Plaintiffs and Class

Members of the benefit of their bargain. When agreeing to pay Defendant and/or its agents for

products and/or services, Plaintiffs and other reasonable consumers understood and expected that

they were, in part, paying for the product and/or service as well as necessary data security to protect

the PII, when in fact Defendant did not provide the expected data security. Accordingly, Plaintiffs

and Class Members received products and/or services that were of a lesser value than what they

reasonably expected to receive under the bargains they struck with Defendant.

        Plaintiff Nella Citino’s Experience

        129.    Plaintiff Nella Citino is a current AT&T wireless customer and has been a customer

for approximately 30 years.

        130.    As a condition of obtaining products and/or services at AT&T, she was required to

provide her PII to Defendant, including her name, date of birth, phone number, Social Security

number, and other sensitive information.

        131.    Upon information and belief, at the time of the Data Breach, Defendant maintained

Plaintiff Citino’s PII in its system.

        132.    Plaintiff Citino is very careful about sharing her sensitive PII. Plaintiff stores any

documents containing her PII in a safe and secure location. She has never knowingly transmitted




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unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff would not have

entrusted her PII to Defendant had she known of Defendant’s lax data security policies.

          133.   Upon information and belief, Plaintiff Citino’s PII was improperly accessed and

obtained by unauthorized third parties, including her name, phone number, email address, and

Social Security number. In particular, Ms. Citino was informed on or about March 20th through

her Google One account, which does dark web monitoring, that her PII (including her name, Social

Security number, email address, phone number, as well as possibly her address) were available on

the dark web.

          134.   Plaintiff Citino was also informed by email received from Defendant, dated March

30, 2024,45 that AT&T had “discovered that your AT&T account passcode has been compromised,

therefore we have proactively reset your passcode.” Plaintiff Citino was also informed that her PII

involved “may have included full name, email address, mailing address, phone number, social

security number, date of birth, AT&T account number and passcode.”46

          135.   As a result of the Data Breach, Plaintiff Citino made reasonable efforts to mitigate

the impact of the Data Breach, including researching and verifying the legitimacy of the Data

Breach, freezing her credit, securing her email account, and contacting her financial institutions to

notify them about the Data Breach. Plaintiff Citino has spent significant time dealing with the Data

Breach—valuable time Plaintiff Citino otherwise would have spent on other activities, including

but not limited to work and/or recreation. This time has been lost forever and cannot be recaptured.

          136.   Plaintiff Citino suffered actual injury from having her PII compromised as a result

of the Data Breach, including but not limited to: (i) invasion of privacy; (ii) theft of her PII; (iii)

lost or diminished value of PII; (iv) lost time and opportunity costs associated with attempting to


45
     March 30, 2024 Email from Defendant to Plaintiff Citino, attached as Exhibit A hereto.
46
     Id.

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mitigate the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of the Data

Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and certainly

increased risk to her PII, which: (a) remains unencrypted and available for unauthorized third

parties to access and abuse; and (b) remains backed up in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII.

       137.     The Data Breach has caused Plaintiff Citino to suffer fear, anxiety, and stress,

which has been compounded by the fact that Defendant has still not fully informed her of key

details about the Data Breach’s occurrence.

       138.     As a result of the Data Breach, Plaintiff Citino anticipates spending considerable

time and money on an ongoing basis to try to mitigate and address harms caused by the Data

Breach.

       139.     As a result of the Data Breach, Plaintiff Citino is at a present risk and will continue

to be at increased risk of identity theft and fraud for years to come.

       140.     Plaintiff Citino has a continuing interest in ensuring that her PII that, upon

information and belief, remains backed up in Defendant’s possession, is protected and safeguarded

from future breaches.

          Plaintiff Daniel Mizell’s Experience

          141. Plaintiff Daniel Mizell is a current AT&T internet and U-verse customer.

       142.     As a condition of obtaining products and/or services at AT&T, he was required to

provide his PII to Defendant, including his name, date of birth, phone number, Social Security

number, and other sensitive information.




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          143.   Upon information and belief, at the time of the Data Breach, Defendant maintained

Plaintiff’s PII in its system.

          144.   Plaintiff Mizell is very careful about sharing his sensitive PII. Plaintiff Mizell stores

any documents containing his PII in a safe and secure location. He has never knowingly transmitted

unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff Mizell would

not have entrusted his PII to Defendant had he known of Defendant’s lax data security policies.

          145.   Upon information and belief, Plaintiff Mizell’s PII was improperly accessed and

obtained by unauthorized third parties, including his name, phone number, email address, and

Social Security number. In particular, Mr. Mizell was informed by email received from Defendant,

dated March 30, 2024,47 that AT&T had “discovered that your AT&T account passcode has been

compromised, therefore we have proactively reset your passcode.” Plaintiff Mizell was also

informed that his PII involved “may have included full name, email address, mailing address,

phone number, social security number, date of birth, AT&T account number and passcode.”48

          146.   Despite AT&T’s statement, as of the filing of this complaint, Plaintiff Mizell’s

compromised AT&T account password still has not been reset by AT&T.

          147.   As a result of the Data Breach, Plaintiff Mizell made reasonable efforts to mitigate

the impact of the Data Breach, including researching and verifying the legitimacy of the Data

Breach. Plaintiff Mizell has spent significant time dealing with the Data Breach—valuable time

Plaintiff Mizell otherwise would have spent on other activities, including but not limited to work

and/or recreation. This time has been lost forever and cannot be recaptured.

          148.   Plaintiff Mizell suffered actual injury from having his PII compromised as a result

of the Data Breach, including but not limited to: (i) invasion of privacy; (ii) theft of his PII; (iii)


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     March 30, 2024 Email from Defendant to Plaintiff Mizell, attached as Exhibit B hereto.
48
     Id.

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lost or diminished value of PII; (iv) lost time and opportunity costs associated with attempting to

mitigate the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of the Data

Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and certainly

increased risk to his PII, which: (a) remains unencrypted and available for unauthorized third

parties to access and abuse; and (b) remains backed up in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII.

       149.    The Data Breach has caused Plaintiff Mizell to suffer fear, anxiety, and stress,

which has been compounded by the fact that Defendant has still not fully informed him of key

details about the Data Breach’s occurrence.

       150.    As a result of the Data Breach, Plaintiff Mizell anticipates spending considerable

time and money on an ongoing basis to try to mitigate and address harms caused by the Data

Breach.

       151.    As a result of the Data Breach, Plaintiff Mizell is at a present risk and will continue

to be at increased risk of identity theft and fraud for years to come.

       152.    Plaintiff Mizell has a continuing interest in ensuring that his PII that, upon

information and belief, remains backed up in Defendant’s possession, is protected and safeguarded

from future breaches.

                                    CLASS ALLEGATIONS

       153.    Plaintiffs bring this nationwide class action on behalf of themselves and all others

similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil

Procedure.




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       154.    The Class that Plaintiffs seek to represent is defined as follows:

       Nationwide Class
       All individuals residing in the United States whose PII was accessed and/or
       acquired by an unauthorized party as a result of the data breach at Defendant in or
       about March 2024 (the “Class”).

       155.    Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant have a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

       156.    Plaintiffs reserve the right to amend the definitions of the Class or add a Class or

Subclass if further information and discovery indicate that the definitions of the Class should be

narrowed, expanded, or otherwise modified.

       157.    Numerosity: The members of the Class are so numerous that joinder of all members

is impracticable, if not completely impossible. Upon information and belief, more than 70 million

individuals were impacted in the Data Breach. The Class is apparently identifiable within

Defendant’s records, and Defendant has already identified these individuals (as evidenced by

sending them breach notification letters).

       158.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class that predominate over questions which may affect

individual Class members, including the following:

           a. Whether and to what extent Defendant had a duty to protect the PII of Plaintiffs and

               Class Members;




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           b. Whether Defendant had respective duties not to disclose the PII of Plaintiffs and

               Class Members to unauthorized third parties;

           c. Whether Defendant had respective duties not to use the PII of Plaintiffs and Class

               Members for non-business purposes;

           d. Whether Defendant failed to adequately safeguard the PII of Plaintiffs and Class

               Members;

           e. Whether and when Defendant actually learned of the Data Breach;

           f. Whether Defendant adequately, promptly, and accurately informed Plaintiffs and

               Class Members that their PII had been compromised;

           g. Whether Defendant violated the law by failing to promptly and adequately notify

               Plaintiffs and Class Members that their PII had been compromised;

           h. Whether Defendant failed to implement and maintain reasonable security

               procedures and practices appropriate to the nature and scope of the information

               compromised in the Data Breach;

           i. Whether Defendant adequately addressed and fixed the vulnerabilities which

               permitted the Data Breach to occur;

           j. Whether Plaintiffs and Class Members are entitled to actual damages, statutory

               damages, and/or nominal damages as a result of Defendant’s wrongful conduct;

           k. Whether Plaintiffs and Class Members are entitled to injunctive relief to redress the

               imminent and currently ongoing harm faced as a result of the Data Breach.

       159.    Typicality: Plaintiffs’ claims are typical of those of the other members of the Class

because Plaintiffs, like every other Class Member, were exposed to virtually identical conduct and

now suffer from the same violations of the law as each other member of the Class.




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       160.    Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and final injunctive relief appropriate with respect to the

Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly, and Plaintiffs’ challenges of these policies hinge on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiffs.

       161.    Adequacy: Plaintiffs will fairly and adequately represent and protect the interests

of the Class Members, in that they have no disabling conflicts of interest that would be antagonistic

to those of other Class Members. Plaintiffs seek no relief that is antagonistic or adverse to other

Class Members, and the infringement of the rights and the damages they have suffered are typical

of other Class Members. Plaintiffs have retained counsel experienced in complex class action and

data breach litigation, and Plaintiffs intend to prosecute this action vigorously.

       162.    Superiority and Manageability: The class litigation is an appropriate method for fair

and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendant. Further, even for

those Class Members who could afford to litigate such a claim, so doing would still be

economically impractical and impose a burden on the courts.




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        163.    The nature of this action and the nature of laws available to Plaintiffs and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiffs and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

the limited resources of each individual Class Member with superior financial and legal resources;

the costs of individual suits could unreasonably exceed the amounts that would be recovered; proof

of a common course of conduct to which Plaintiffs were exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the causes

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

        164.    The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

        165.    Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

        166.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII of Class Members, Defendant may continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and Defendant may continue to act

unlawfully as set forth in this Petition.

        167.    Further, Defendant has acted on grounds that apply generally to the Class as a

whole, so that class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a class-wide basis.




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        168.    Likewise, particular issues under Rule 42(d)(1) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

            a. Whether Defendant failed to timely and adequately notify the Plaintiffs and the

                Class of the Data Breach;

            b. Whether Defendant owed a legal duty to Plaintiffs and the Class to exercise due

                care in collecting, storing, and safeguarding their PII;

            c. Whether Defendant’s security measures to protect their data systems were

                reasonable in light of best practices recommended by data security experts;

            d. Whether Defendant’s failure to institute adequate protective security measures

                amounted to negligence;

            e. Whether Defendant failed to take commercially reasonable steps to safeguard

                consumer PII; and

            f. Whether adherence to FTC data security recommendations, and measures

                recommended by data security experts would have reasonably prevented the Data

                Breach.

                                      CAUSES OF ACTION

                                            COUNT I
                                           Negligence
                              (On Behalf of Plaintiffs and the Class)

        169.    Plaintiffs re-allege and incorporate by reference all preceding allegations, as if fully

set forth herein.




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       170.    Defendant requires its customers, including Plaintiffs and Class Members, to

submit non-public PII in the ordinary course of providing its products and/or services.

       171.    Defendant gathered and stored the PII of Plaintiffs and Class Members as part of

its business of soliciting its services to its customers, which solicitations and services affect

commerce.

       172.    Plaintiffs and Class Members entrusted Defendant with their PII, with the

understanding that Defendant would safeguard their information.

       173.    Defendant had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiffs and Class Members could and would suffer if the PII were wrongfully disclosed.

       174.    By voluntarily undertaking and assuming the responsibility to collect and store this

data, and in fact doing so, as well as sharing it and using it for commercial gain, Defendant had a

duty of care to use reasonable means to secure and safeguard their computer property—and Class

Members’ PII held within it—to prevent disclosure of the information and to safeguard the

information from theft. Defendant’s duty included a responsibility to implement processes by

which they could detect a breach of its security systems in a reasonably expeditious period of time

and to give prompt notice to those affected in the case of a data breach.

       175.    Defendant had a duty to employ reasonable security measures under Section 5 of

the FTCA, which prohibits “unfair . . . practices in or affecting commerce,” including, as

interpreted and enforced by the FTC, the unfair practice of failing to use reasonable measures to

protect confidential data.

       176.    Defendant owed a duty of care to Plaintiffs and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks adequately protected the PII.




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        177.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between AT&T and Plaintiffs and Class Members. That special

relationship arose because Plaintiffs and the Class entrusted AT&T with their confidential PII, a

necessary part of being customers of Defendant.

        178.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential PII.

        179.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiffs or the Class.

        180.    Defendant also had a duty to exercise appropriate clearinghouse practices to remove

former customers’ PII it was no longer required to retain pursuant to regulations.

        181.    Moreover, Defendant had a duty to promptly and adequately notify Plaintiffs and

the Class of the Data Breach.

        182.    Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiffs and the Class within Defendant’s possession might have been compromised, how it was

compromised, and precisely the types of data that were compromised and when. Such notice was

and is necessary to allow Plaintiffs and the Class to take steps to prevent, mitigate, and repair any

identity theft and the fraudulent use of their PII by third parties.

        183.    Defendant breached its duties pursuant to the FTC Act and other applicable

standards, and thus was negligent, by failing to use reasonable measures to protect Class Members’

PII. The specific negligent acts and omissions committed by Defendant include, but are not limited

to, the following:




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           a. Failing to adopt, implement, and maintain adequate security measures to safeguard

               Class Members’ PII;

           b. Failing to adequately monitor the security of their networks and systems;

           c. Allowing unauthorized access to Class Members’ PII;

           d. Failing to detect in a timely manner that Class Members’ PII had been

               compromised;

           e. Failing to remove former customers’ PII it was no longer required to retain pursuant

               to regulations, and

           f. Failing to timely and adequately notify Class Members about the Data Breach’s

               occurrence and scope, so that they could take appropriate steps to mitigate the

               potential for identity theft and other damages.

       184.    Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored as well as the foreseeable consequences of the immense damages that would result to

Plaintiffs and the Class.

       185.    Plaintiffs and Class Members were within the class of persons the Federal Trade

Commission Act was intended to protect, and the type of harm that resulted from the Data Breach

was the type of harm that the statute was intended to guard against.

       186.    Defendant’s violation of Section 5 of the FTC Act constitutes negligence.

       187.    The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiffs and the Class.




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       188.    A breach of security, unauthorized access, and resulting injury to Plaintiffs and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       189.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

telecom industry.

       190.    Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiffs and the Class could and would suffer if the PII were wrongfully disclosed.

       191.    Plaintiffs and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiffs and the Class, the critical importance of providing

adequate security of that PII, and the necessity for encrypting PII stored on Defendant’s systems

or transmitted through third party systems.

       192.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

PII would result in one or more types of injuries to Class Members.

       193.    Plaintiffs and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendant’s possession.

       194.    Defendant was in a position to protect against the harm suffered by Plaintiffs and

the Class as a result of the Data Breach.

       195.    Defendant’s duty extended to protecting Plaintiffs and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk of or defeats protections put in




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place to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       196.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiffs and

the Class, the PII of Plaintiffs and the Class would not have been compromised.

       197.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiffs and the Class and the harm, or risk of imminent

harm, suffered by Plaintiffs and the Class. The PII of Plaintiffs and the Class was lost and accessed

as the proximate result of Defendant’s failure to exercise reasonable care in safeguarding such PII

by adopting, implementing, and maintaining appropriate security measures.

       198.    As a direct and proximate result of Defendant’s negligence, Plaintiffs and the Class

have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii) theft

of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs associated

with attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to their PII, which: (a) remains unencrypted and available for unauthorized

third parties to access and abuse; and (b) remains backed up in Defendant’s possession and is

subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII.

       199.    Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiffs

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures so long as




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Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued

possession.

        200.    Plaintiffs and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        201.    Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                           COUNT II
                                       Negligence Per Se
                              (On Behalf of Plaintiffs and the Class)

        202.    Plaintiffs re-allege and incorporate by reference all preceding allegations, as if fully

set forth herein.

        203.    Pursuant to the FTCA, Defendant had a duty to provide fair and adequate computer

systems and data security practices to safeguard Plaintiffs’ and Class Members’ PII.

        204.    Defendant breached its duties to Plaintiffs and Class Members under the Federal

Trade Commission Act by failing to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard Plaintiffs’ and Class Members’ PII.

        205.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

        206.    But for Defendant’s wrongful and negligent breach of their duties owed to Plaintiffs

and Class Members, Plaintiffs and Class Members would not have been injured.




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        207.    The harm resulting from the Data Breach was the harm the FTC Act was intended

to guard against and Plaintiffs and Class Members are within the class of persons the statute was

intended to protect.

        208.    The injury and harm suffered by Plaintiffs and Class Members was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known

that it was failing to meet its duties, and that Defendant’s breach would cause Plaintiffs and Class

Members to experience the foreseeable harms associated with the exposure of their PII.

        209.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                          COUNT III
                                  Breach Of Implied Contract
                              (On Behalf of Plaintiffs and the Class)

        210.    Plaintiffs re-allege and incorporate by reference all preceding allegations, as if fully

set forth herein.

        211.    Plaintiffs and Class Members were required deliver their PII to Defendant as part

of the process of obtaining products and/or services from Defendant. Plaintiffs and Class Members

paid money, or money was paid on their behalf, to Defendant in exchange for products and/or

services.

        212.    Defendant solicited, offered, and invited Class Members to provide their PII as part

of Defendant’s regular business practices. Plaintiffs and Class Members accepted Defendant’s

offers and provided their PII to Defendant.

        213.    Defendant accepted possession of Plaintiffs’ and Class Members’ PII for the

purpose of providing services to Plaintiffs and Class Members.




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          214.   Plaintiffs and the Class entrusted their PII to Defendant. In so doing, Plaintiffs and

the Class entered into implied contracts with Defendant by which Defendant agreed to safeguard

and protect such information, to keep such information secure and confidential, and to timely and

accurately notify Plaintiffs and the Class if their data had been breached and compromised or

stolen.

          215.   In entering into such implied contracts, Plaintiffs and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations (including FTC guidelines on data security) and were consistent with industry

standards.

          216.   Implicit in the agreement between Plaintiffs and Class Members and the Defendant

to provide PII, was the latter’s obligation to: (a) use such PII for business purposes only, (b) take

reasonable steps to safeguard that PII, (c) prevent unauthorized disclosures of the PII, (d) provide

Plaintiffs and Class Members with prompt and sufficient notice of any and all unauthorized access

and/or theft of their PII, (e) reasonably safeguard and protect the PII of Plaintiffs and Class

Members from unauthorized disclosure or uses, (f) retain the PII only under conditions that kept

such information secure and confidential.

          217.   The mutual understanding and intent of Plaintiffs and Class Members on the one

hand, and Defendant, on the other, is demonstrated by their conduct and course of dealing.

          218.   On information and belief, at all relevant times Defendant promulgated, adopted,

and implemented written privacy policies whereby it expressly promised Plaintiffs and Class

Members that it would only disclose PII under certain circumstances, none of which relate to the

Data Breach.




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       219.    On information and belief, Defendant further promised to comply with industry

standards and to make sure that Plaintiffs’ and Class Members’ PII would remain protected.

       220.    Plaintiffs and Class Members paid money to Defendant with the reasonable belief

and expectation that Defendant would use part of its earnings to obtain adequate data security.

Defendant failed to do so.

       221.    Plaintiffs and Class Members would not have entrusted their PII to Defendant in

the absence of the implied contract between them and Defendant to keep their information

reasonably secure.

       222.    Plaintiffs and Class Members would not have entrusted their PII to Defendant in

the absence of their implied promise to monitor their computer systems and networks to ensure

that it adopted reasonable data security measures.

       223.    Every contract in this State has an implied covenant of good faith and fair dealing,

which is an independent duty and may be breached even when there is no breach of a contract’s

actual and/or express terms.

       224.    Plaintiffs and Class Members fully and adequately performed their obligations

under the implied contracts with Defendant.

       225.    Defendant breached the implied contracts it made with Plaintiffs and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiffs and the Class once the relationship ended, and by failing to provide timely and accurate

notice to them that personal information was compromised as a result of the Data Breach.

       226.    Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard PII, failing to

timely and accurately disclose the Data Breach to Plaintiffs and Class Members, and continuing to




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accept PII and storage of other personal information after Defendant knew, or should have known,

of the security vulnerabilities of the systems that were exploited in the Data Breach.

        227.    As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiffs and Class Members sustained damages, including, but not limited to: (i) invasion of

privacy; (ii) theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss

of benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; and

(ix) the continued and certainly increased risk to their PII, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII.

        228.    Plaintiffs and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

        229.    Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                           COUNT IV
                                      Unjust Enrichment
                              (On Behalf of Plaintiffs and the Class)

        230.    Plaintiffs re-allege and incorporate by reference all preceding allegations, as if fully

set forth herein.




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         231.   Plaintiffs bring this Count in the alternative to the breach of implied contract count

above.

         232.   Plaintiffs and Class Members conferred a monetary benefit on Defendant.

Specifically, they paid Defendant and/or its agents for products and/or services and in so doing

also provided Defendant with their PII. In exchange, Plaintiffs and Class Members should have

received from Defendant the products and/or services that were the subject of the transaction and

should have had their PII protected with adequate data security.

         233.   Defendant knew that Plaintiffs and Class Members conferred a benefit upon it and

has accepted and retained that benefit by accepting and retaining the PII entrusted to it. Defendant

profited from Plaintiffs’ retained data and used Plaintiffs’ and Class Members’ PII for business

purposes.

         234.   Defendant failed to secure Plaintiffs’ and Class Members’ PII and, therefore, did

not fully compensate Plaintiffs or Class Members for the value that their PII provided.

         235.   Defendant acquired the PII through inequitable record retention, as it failed to

investigate and/or disclose the inadequate data security practices previously alleged.

         236.   If Plaintiffs and Class Members had known that Defendant would not use adequate

data security practices, procedures, and protocols to adequately monitor, supervise, and secure

their PII, they would not have entrusted their PII to Defendant or obtained products and/or services

from Defendant.

         237.   Plaintiffs and Class Members have no adequate remedy at law.

         238.   Under the circumstances, it would be unjust for Defendant to be permitted to retain

any of the benefits that Plaintiffs and Class Members conferred upon it.




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       239.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss of

benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

       240.    Plaintiffs and Class Members are entitled to full refunds, restitution, and/or

damages from Defendant and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendant from its wrongful conduct. This can be accomplished by

establishing a constructive trust from which the Plaintiffs and Class Members may seek restitution

or compensation.

       241.    Plaintiffs and Class Members may not have an adequate remedy at law against

Defendant, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and Class Members, request

judgment against Defendant and that the Court grants the following:

       A.      For an Order certifying the Class, and appointing Plaintiffs and their Counsel to

               represent the Class;




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   B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

          complained of herein pertaining to the misuse and/or disclosure of the PII of

          Plaintiffs and Class Members;

   C.     For injunctive relief requested by Plaintiffs, including but not limited to,

          injunctive and other equitable relief as is necessary to protect the interests of

          Plaintiffs and Class Members, including but not limited to an order:

          i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

               described herein;

         ii.   requiring Defendant to protect, including through encryption, all data

               collected through the course of its business in accordance with all applicable

               regulations, industry standards, and federal, state or local laws;

        iii.   requiring Defendant to delete, destroy, and purge the personal identifying

               information of Plaintiffs and Class Members unless Defendant can provide to

               the Court reasonable justification for the retention and use of such information

               when weighed against the privacy interests of Plaintiffs and Class Members;

        iv.    requiring Defendant to provide out-of-pocket expenses associated with the

               prevention, detection, and recovery from identity theft, tax fraud, and/or

               unauthorized use of their PII for Plaintiffs’ and Class Members’ respective

               lifetimes;

         v.    requiring Defendant to implement and maintain a comprehensive Information

               Security Program designed to protect the confidentiality and integrity of the

               PII of Plaintiffs and Class Members;

        vi.    prohibiting Defendant from maintaining the PII of Plaintiffs and Class




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              Members on a cloud-based database;

       vii.   requiring Defendant to engage independent third-party security

              auditors/penetration testers as well as internal security personnel to conduct

              testing, including simulated attacks, penetration tests, and audits on

              Defendant’s systems on a periodic basis, and ordering Defendant to promptly

              correct any problems or issues detected by such third-party security auditors;

      viii.   requiring Defendant to engage independent third-party security auditors and

              internal personnel to run automated security monitoring;

       ix.    requiring Defendant to audit, test, and train its security personnel regarding

              any new or modified procedures;

        x.    requiring Defendant to segment data by, among other things, creating

              firewalls and controls, so that if one area of Defendant’s network is

              compromised, hackers cannot gain access to other portions of Defendant’s

              systems;

       xi.    requiring Defendant to conduct regular database scanning and securing

              checks;

       xii.   requiring Defendant to establish an information security training program that

              includes at least annual information security training for all employees, with

              additional training to be provided as appropriate based upon the employees’

              respective responsibilities with handling personal identifying information, as

              well as protecting the personal identifying information of Plaintiffs and Class

              Members;

      xiii.   requiring Defendant to routinely and continually conduct internal training and




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              education, and on an annual basis to inform internal security personnel how to

              identify and contain a breach when it occurs and what to do in response to a

              breach;

      xiv.    requiring Defendant to implement a system of tests to assess its respective

              employees’ knowledge of the education programs discussed in the preceding

              subparagraphs, as well as randomly and periodically testing employees’

              compliance with Defendant’s policies, programs, and systems for protecting

              personal identifying information;

       xv.    requiring Defendant to implement, maintain, regularly review, and revise as

              necessary a threat management program designed to appropriately monitor

              Defendant’s information networks for threats, both internal and external, and

              assess whether monitoring tools are appropriately configured, tested, and

              updated;

      xvi.    requiring Defendant to meaningfully educate all Class Members about the

              threats that they face as a result of the loss of their confidential personal

              identifying information to third parties, as well as the steps affected

              individuals must take to protect herself;

      xvii.   requiring Defendant to implement logging and monitoring programs sufficient

              to track traffic to and from Defendant’s servers; and

     xviii.   for a period of 10 years, appointing a qualified and independent third party

              assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate

              Defendant’s compliance with the terms of the Court’s final judgment, to

              provide such report to the Court and to counsel for the class, and to report any




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                  deficiencies with compliance of the Court’s final judgment;

       D.     For an award of damages, including actual, nominal, statutory, consequential, and

              punitive damages, as allowed by law in an amount to be determined;

       E.     For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

       F.     For prejudgment interest on all amounts awarded; and

       G.     For such other and further relief as this Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury on all claims so triable.



Dated: April 5, 2024                                  Respectfully submitted,

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